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(503) 786-3800

Attorney for International Collision Repair LLC, Debtor.




                          IN THE UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF OREGON

In re:                                           Case No. 20-33271-pcm11
                                                 Case No. 20-32792-pcm11
International Collision Repair LLC,
                                                 Jointly Administered Under
                               Debtor,           Case No. 20-32792-pcm11

John & Rebecca Southwick,                        NOTICE AND MOTION TO SETTLE AND
                                                 COMPROMISE
                              Debtors.



                                                 NOTICE

If you oppose the proposed course of action detailed below or sough in this motion, you must file a

written objection with the bankruptcy court no later than twenty-one days after the date listed in the

certificate of service below. If you do not file an objection, the court may grant the motion without

further notice or hearing. Your objection must set forth specific grounds for objecting and your relation to

the case. The objection must be received by the clerk of the court at US Bankruptcy Court, 1050 SW 6th

Ave., #700, Portland, OR 97204 by the deadline specified above or it may not be considered. You must

also serve the objection on counsel for ICR LLC at Michael D. O’Brien, 12909 SW 68th Parkway, Suite

160, Portland, OR 97204 within that same time. If the court sets a hearing, you will receive a separate

notice listing the hearing date, time and other relevant information.



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                              MOTION TO SETTLE AND COMPROMISE

International Collision Repair, LLC (“ICR LLC”) intends to take the following action:

       ICR LLC intends to sign a Stipulated Limited Judgment in the form attached as Exhibit 1 which

resolves a dispute with Kapitus Inc. in the adversary proceeding pending under case no. 20-3117-pcm. As

part of the settlement, Kapitus will agree to reduce its claim by approximately $24,000 and to vote to

accept a plan that contains specific treatment of Kapitus’ claim. In return, ICR LLC will release and hold

harmless Kapitus from liabilities arising out of its pre-bankruptcy activity. The agreement is binding

upon successors in interest of the parties including upon conversion or the appointment of a trustee.

       ICR LLC believes the settlement is in the best interest of its Estate as it eliminates costly

administrative expenses related to litigating the adversary proceeding. Furthermore, ICR LLC believes

any recovery it may realize against Kapitus would be contested, costly, subject to defenses and would

result in a net benefit to the Estate that is substantially less than the benefit obtained in the settlement.

Finally, ICR LLC believes that this settlement allows for better treatment of secured creditors junior to

Kapitus and thus is fair and equitable to all parties.



                                                /s/ Michael D. O’Brien
                                               Michael D. O'Brien, OSB#951056
                                               Attorney for the Debtor(s)

I certify that on April 5, 2021, I served copies of the above notice on debtors, trustee, U.S. Trustee, and
the following creditors entitled to notice:

       See Attached Creditor List Obtained this date from the US Bankruptcy Court



                                                 /s/ Jackie Zielke
                                               Jackie Zielke, Paralegal to:
                                               Michael D. O'Brien, OSB#951056




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                     IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF OREGON
                                             Case No: 20-32792-pcm11 LEAD CASE
 In re:                                      Case No: 20-33271-pcm11

 John Southwick &
 Rebecca Southwick,                          Jointly Administered Under:
                                             Case No: 20-32792-pcm11
          Debtors,
 International Collision Repair, LLC

          Debtor.

 International Collision Repair LLC,
                                             Adv. Proc. No. 20-03117-pcm11

                      Plaintiff,
                                             STIPULATED LIMITED JUDGMENT
           v.                                AS TO KAPITUS LLC

 Fundation Group, LLC, a Delaware
 Limited Liability Company, BlueVine
 Capital Inc., a Delaware Corporation,
 Kapitus LLC, a Virginia Limited Liability
 Company, Webbank, a Utah Corporation,
 Saturn Funding LLC, a New York
 Limited Liability Company, EBF Partners,
 LLC, a Delaware Limited Liability

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 Company, 24 Capital LLC, a New York
 Limited Liability Company, Funding
 Metrics, LLC, a Delaware Limited Liability
 Company, Complete Business Solutions
 Group Inc., a Delaware Corporation,
                       Defendants.


      Based on the Stipulation of the parties as evidenced by the signature of counsel below, it

is hereby ORDERED and JUDGMENT shall enter as follows:

      1. Kapitus Servicing Inc. as agent for Kapitus, LLC (“Kapitus”) by and through its

         counsel stipulates to the terms contained herein, which bind Kapitus’ successors

         and/or assigns.

      2. The value of all assets owned by International Collision Repair LLC as of August 2,

         2020 was $254,851.79.

      3. Kapitus and International Collision Repair LLC entered into an agreement regarding

         a financing involving the purchase of future receivables on or about August 15, 2019.

      4. As part of the August 15, 2019 agreement, Kapitus was granted a security interest in

         substantially all the assets owned by International Collision Repair LLC.

      5. Kapitus filed a UCC-1 financing statement with the Oregon Secretary of State

         Corporation Division on August 19, 2019 that was recorded as document number

         92015800.

      6. The debt owed to Kapitus LLC by International Collision Repair LLC at the time of

         the Petition Date was $115,897.36, which accrues interest and fees pursuant to the

         August 15, 2019 agreement.

      7. The Debtor agrees to propose a Plan which will provide that the debt owed to Kapitus

         LLC by International Collision Repair LLC will be paid at a reduced principal

         balance of $91,912.00, which accrues simple interest at the annual rate of 6%

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            commencing with the Effective Date of the Plan (as that term is defined in such

            proposed Plan.)

        8. The Debtor agrees to propose a Plan which will provide that commencing with the

            Effective Date of the Plan (as that term is defined in such proposed Plan,) the debt

            owed to Kapitus by International Collision Repair LLC shall be paid in 119 equal

            monthly installments of $1,020.41 followed by a 120th payment of $1,020.63.

        9. Kapitus agrees to Vote to Accept a Plan proposed by the Debtor that contains the

            terms disclosed at Paragraph 7 and 8 above, with the reservation that it may seek to

            include additional attorneys’ fees and costs should it become involved in contested

            proceedings after the entry of this stipulated judgment and may require other terms

            not in conflict with the debt, interest or payment amount identified above.

        10. Debtor further agrees to release and hold harmless Kapitus, its affiliates, parents,

            agents, officers, directors, managers, members, representatives, successors and

            assigns on the Effective Date of the Plan from all liabilities arising out of or related to

            the August 15, 2019 agreement in consideration of Kapitus reducing the principal

            balance of the debt as outlined herein. For the avoidance of doubt, this release covers

            all avoidance actions under the Bankruptcy Code and shall be binding on any

            successor to the Debtor, including upon conversion or the appointment of a trustee.

        11. No costs and/or fees are awarded to either party in this adversary proceeding, other

            than any which are included in the reduced principal balance indicated in paragraph 7.

                                                 ###

                   This Order Complies with the Requirements of LBR 9021-1.

It is So Stipulated:




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/s/    PROPOSED
Michael D. O’Brien, OSB#951056
Attorney for International Collision Repair LLC


It is So Stipulated:


/s/    PROPOSED
Daniel J. Bugbee
Attorney for Kapitus LLC

CC: Debtors, Defendant, ECF parties




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